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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT
                                      :
Ray Tedeschi,
                                      :
                                      : Civil Action No.: 3:13-cv-01867
                  Plaintiff,
     v.                               :
                                      :
American Adjustment Bureau, Inc.; and :
                                        COMPLAINT
                                      :
DOES 1-10, inclusive,
                                      :
                                      : December 17, 2013
                  Defendants.
                                      :
                                      :

      For this Complaint, Plaintiff, Ray Tedeschi, by undersigned counsel, states

as follows:

                                    JURISDICTION

      1.      This action arises out of Defendants’ repeated violations of the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), in their

illegal efforts to collect a consumer debt.

      2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

      3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that Defendants transact business in this District and a substantial portion of the

acts giving rise to this action occurred in this District.

                                       PARTIES

      4.      Plaintiff, Ray Tedeschi (“Plaintiff”), is an adult individual residing in

Broad Brook, Connecticut, and is a “consumer” as the term is defined by 15

U.S.C. § 1692a(3).

      5.      Defendant American Adjustment Bureau, Inc. (“American”), is a

Connecticut business entity with an address of 73 Field Street, Waterbury,
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Connecticut 06723, operating as a collection agency, and is a “debt collector” as

the term is defined by 15 U.S.C. § 1692a(6).

      6.      Does 1-10 (the “Collectors”) are individual collectors employed by

American and whose identities are currently unknown to Plaintiff. One or more of

the Collectors may be joined as parties once their identities are disclosed

through discovery.

      7.      American at all times acted by and through one or more of the

Collectors.

                    ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

      8.      Plaintiff allegedly incurred a financial obligation (the “Debt”) to an

original creditor (the “Creditor”).

      9.      The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes, which meets the definition

of a “debt” under 15 U.S.C. § 1692a(5).

      10.     The Debt was purchased, assigned or transferred to American for

collection, or American was employed by the Creditor to collect the Debt.

      11.     Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. American Engages in Harassment and Abusive Tactics

      12.     Within the last year, American contacted Plaintiff in an attempt to

collect the Debt.

      13.     American threatened to put a lien on Plaintiff’s house. However,

upon information and belief American neither sued nor obtained judgment
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against Plaintiff, and therefore had no ability to put a lien on Plaintiff’s house.

   C. Plaintiff Suffered Actual Damages

      14.    Plaintiff has suffered and continues to suffer actual damages as a

result of Defendants’ unlawful conduct.

      15.    As a direct consequence of Defendants’ acts, practices and conduct,

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety,

emotional distress, fear, frustration and embarrassment.

                                  COUNT I
               VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

      16.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      17.    Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants

engaged in behavior the natural consequence of which was to harass, oppress,

or abuse Plaintiff in connection with collection of the Debt.

      18.    Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants

used false, deceptive and/or misleading representations or means in connection

with collection of the Debt.

      19.    Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened Plaintiff with attachment of his property if the Debt was not paid.

      20.    Defendants’ conduct violated 15 U.S.C. § 1692e(5) in that Defendants

threatened to take legal action, without actually intending to do so.

      21.    Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that

Defendants employed false and deceptive means to collect a debt.

      22.    Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants


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used unfair and unconscionable means to collect the Debt.

      23.    The foregoing acts and omissions of Defendants constitute

numerous and multiple violations of the FDCPA.

      24.    Plaintiff is entitled to damages as a result of Defendants' violations.

                               COUNT II
     VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                    Conn. Gen. Stat. § 42-110a, et seq.

      25.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      26.    Defendants are each individually a “person” as defined by Conn.

Gen. Stat. § 42-110a(3).

      27.    Defendants engaged in unfair and deceptive acts and practices in the

conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

      28.    Plaintiff is entitled to damages as a result of Defendants’ violations.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

                2. Statutory damages of $1,000.00 pursuant to 15 U.S.C.

                   §1692k(a)(2)(A);

                3. Costs of litigation and reasonable attorney’s fees pursuant to 15

                   U.S.C. § 1692k(a)(3);

                4. Punitive damages; and

                5. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS



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Dated: December 17, 2013
                                   Respectfully submitted,

                                   By    /s/ Sergei Lemberg

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